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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

 MONTEREY RESOURCES, LLC,                         §
                                                  §
                Plaintiff,                        §
 vs.                                              §
                                                  §      Civil Action No. ________________
 405 ARAPAHOE, LLC AND ARENA                      §
 INVESTORS, LP,                                   §
                                                  §
                Defendants.                       §

                             DEFENDANTS’ NOTICE OF REMOVAL

        Pursuant to 28 U.S.C. § 1446, Defendants 405 Arapahoe, LLC and Arena Investors, LP

(together, “Defendants”) file this Notice of Removal (the “Notice”) and remove this case to the

United States District Court for the Northern District of Texas, Dallas Division.

                                                I.

                                PRELIMINARY STATEMENT

        Pursuant to 28 U.S.C. § 1332, this Court has jurisdiction over the State Court Action

because: (1) there is complete diversity of citizenship between Plaintiff and Defendants; and (2)

the stated amount in controversy exceeds $75,000, exclusive of interest and costs. Plaintiff is a

citizen of Texas. Defendants are citizens of Delaware and New York. The Petition also seeks over

$1,000,000 in relief. As a result, the State Court Action is removable under 28 U.S.C. §§

1332(a)(2) and 1441(a).




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                                                    II.

                                FACTS RELATED TO REMOVAL

        1.      On April 16, 2019, Plaintiff Monterey Resources, LLC (“Plaintiff”) sued

Defendants in the District Court of Dallas County, Texas, by filing an Original Petition and

Request for Disclosure (“Petition”).

        2.      The Petition states, in relevant part, that “Plaintiff seeks monetary relief over

$1,000,000.” Pet. at ¶ 7.

        3.      The Petition identifies Plaintiff as a “limited liability company formed under the

laws of the state of Texas with its principal place of business in Dallas County, Texas.” Pet. at ¶

2. Plaintiff’s members are Robert Imel and Richard Boyce, who are both residents, citizens and

domiciliaries of the State of Texas.

        4.      Defendant Arena Investors LP is the sole member of Defendant 405 Arapahoe,

LLC.

        5.      Defendant Arena Investors LP is comprised of Arena Investors GP, LLC, and

Westaim Arena Holdings II, LLC.

        6.      Westaim Arena Holdings II, LLC is Arena Investors GP, LLC’s sole member.

        7.      The Westaim Corporation of America is Westaim Arena Holdings II, LLC’s sole

member.

        8.      The Westaim Corporation of America is a citizen of Delaware, where it is

incorporated, and New York, where its principle place of business is located. 1




1
  “[A] corporation shall be deemed to be a citizen of any State by which it has been incorporated and of
the State where it has its principal place of business.” 28 U.S.C. § 1332(c)(1).

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                                                 III.

                                              VENUE

       9.      Venue is proper in this district under 28 U.S.C. § 1441(a) because the state court in

which the removed case has been pending, the District Court of Dallas County, is located in the

Northern District of Texas and is located within the Dallas Division of that court. See 28 U.S.C. §

124(a)(1); 28 U.S.C. § 1441(a).

                                                 IV.

                 REMOVAL ON DIVERSITY JURISDICTION GROUNDS

       10.     Removal is proper. 28 U.S.C. § 1332. Removal on diversity grounds requires that

the plaintiff be a citizen of a different State from all defendants, and that the amount in controversy

be over $75,000. Id. For diversity purposes, the citizenship of unincorporated entities, such as a

Limited Partnership (LP) and a Limited Liability Company (LLC), is determined by the

citizenship of all of its members. Americold Realty Tr. v. Conagra Foods, Inc., 136 S. Ct. 1012,

1016 (2016); Harvey v. Grey Wolf Drilling Co., 542 F.3d 1077, 1080 (5th Cir. 2008). Plaintiff

does not share the same citizenship as any one of the Defendants, and the amount in controversy

exceeds $75,000.00. Pet. at ¶ 7.

       11.     Complete Diversity of Citizenship Exists Between Plaintiff and Defendants.

Plaintiff’s members reside in Texas. Accordingly, Plaintiff is a citizen of the State of Texas. By

contrast, based on the membership details, see supra Section II., Defendants are citizens of

Delaware and New York for purposes of diversity jurisdiction. Therefore, complete diversity exists

between the parties.




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       12.     The Amount-In-Controversy Requirement is Satisfied. Plaintiff claims that it

seeks relief over $1,000,000. Pet. at ¶ 7. Because this amount exceeds $75,000, removal on the

basis of diversity should be allowed pursuant to 28 U.S.C. § 1441(b).

       13.     Notice of Removal is Timely Filed. This Notice is filed within thirty (30) days of

service of the Petition and summons in the State Court Action and is, therefore, timely under 28

U.S.C. § 1446(b)(2)(B).

             DOCUMENTS SUBMITTED WITH THIS NOTICE OF REMOVAL

       14.     Pursuant to 28 U.S.C § 1446 and Local Rule 81.1, the following documents are

attached hereto as Exhibit A: all process served on Defendants, all pleadings and documents filed

in the State Court Action, all orders signed by the state judge in the State Court Action, an index

of all documents filed in the State Court Action, a copy of the docket sheet in the state court action,

and a certificate of interested persons.

       15.     The parties to the State Court Action and the Court in the State Court Action are as

follows:

 Plaintiff, Monterey Resources, LLC                 Counsel:

                                                    Julie A. Pettit
                                                    State Bar No. 24065971
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 Defendants, 405 Arapahoe, LLC and Arena Counsel:
 Investors, LP
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 101st Judicial District Court, Dallas County, Hon. Staci Williams
 Texas                                         101st District Court
                                               George L. Allen, Sr., Courts Bldg.
                                               600 Commerce Street, Box 685
                                               Dallas, Texas 75202
                                               Telephone: (214) 653-6937



        16.     A copy of Defendants’ Notice of Filing Notice of Removal directed to the state

court and Plaintiff is attached hereto as Exhibit B. The Notice of Filing Notice of Removal will

be promptly filed with the state court and served upon Plaintiff after filing of this Notice consistent

with 28 U.S.C. § 1446(d).

        If any question arises as to the propriety of the removal of this action, Defendants

respectfully request the opportunity to submit briefing and oral argument and to conduct discovery

in support of its position that subject matter jurisdiction exists.

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       WHEREFORE, Defendants respectfully request that the State Court Action be removed

to the United States District Court for the Northern District of Texas, Dallas Division.

                                              Respectfully submitted,

                                              BELL NUNNALLY & MARTIN LLP


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                                              ATTORNEYS FOR DEFENDANTS




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                                CERTIFICATE OF SERVICE

        On May 13, 2019, I electronically submitted the foregoing document with the Clerk of
Court for the United States District Court, Northern District of Texas, using the electronic case
filing system of the Court. I hereby certify that I have served all counsel of record electronically
or by another manner authorized by Federal Rule of Civil Procedure 5(b)(2) as follows:

 Julie Pettit, Esq.                                Michael K. Hurst, Esq.
 Craig Stoddart, Esq.                              Lynn Pinker Cox & Hurst, LLP
 David Urteago , Esq.                              2100 Ross Avenue, Suite 2700
 Jane Cherry, Esq.                                 Dallas, Texas 75201
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 ATTORNEYS FOR PLAINTIFF                           ATTORNEY FOR PLAINTIFF




                                                     /s/ Christopher B. Trowbridge
                                                     Christopher B. Trowbridge



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